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UNITED STATES DISTRICT COURT DEC 12 2008
WESTERN DISTRICT OF TEXAS 1) IsTRICT COURT
SAN ANTONIO DIVISION CER ON AgtRiot OF TEXAS

UNITED STATES OF AMERICA,
ex. rel. JANAKI RAMADOSS, et al.,

Plaintiffs,
No. SA 99CA0914RF

Vv.

CAREMARK INC., et al.,

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Defendants.
SPECIAL MASTER’S RECOMMENDATIONS WITH RESPECT TO
CAREMARK’S MOTION TO COMPEL FURTHER RESPONSES TO

INTERROGATORIES AND REQUESTS FOR DOCUMENTS
TO THE HONORABLE JUDGE FERGUSON:

Before the Special Master is Caremark’s Motion to Compel Further Responses
to Interrogatories and Requests for Documents, and Supporting Memorandum.
Caremark’s Motion and its supplements ask the Court to compel the discovery of
information the Relator provided to certain governments pursuant to the False Claims
Act, specifically 31 U.S.C. §3730(b)(2). Plaintiffs have filed responses to the Motion
and its supplements, and the matter was heard in Austin, Texas on August 22 and 23,
2006. For the reasons set forth below, the Special Master recommends that the Court
DENY Caremark’s Motion, to the extent it pertains to written disclosures pursuant to
31 U.S.C. §3730(b)(2).

Plaintiffs have sued Caremark for making false claims or reverse false claims to

a number of state governments and the federal government as part of Caremark’s denial

of requests for reimbursement of amounts paid by Plaintiffs as prescription drug

 
 

 

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benefits under Medicaid and other government programs. According to Plaintiffs,
“Caremark violated the False Claims Act by illegally applying procedural plan
restrictions to government requests for reimbursement - in essence, knowingly
thwarting the government’s ability to recoup prescription drugs [sic.] costs that should
have been paid for by the private health plans administered by Caremark.” Plaintiffs’
Summary of the Case to Special Master Karl Bayer, at 2. Caremark, on the other
hand, argues that to the extent it denied claims for reimbursement, it did so on the basis
of plan restrictions which would have mandated denial had the claims been submitted
by the individuals who assigned their right to recovery to the governmental program
seeking reimbursement; “the plain language of the applicable statutes equates the
government with the individual beneficiary by allowing the government to seek
reimbursement to the extent of the plan’s legal liability to the individual beneficiary.”
Caremark’s Summary of the Case, at 3.

The False Claims Act requires a relator to serve on the government a “written
disclosure of substantially all material evidence and information the person possesses”
along with a copy of the complaint. 31 U.S.C. §3730(b)(2) (hereinafter “Statement of
Material Evidence”). In this case, the Relator served this written disclosure on
numerous state governments, not all of which have chosen to intervene in the case. In
its Motion to Compel, Caremark asks the Court to compel production of the Statement
of Material Evidence Relator “was required to serve on the various government entities

on whose behalf she attempts to bring this case.” Caremark’s Motion, at 14.

 
 

 

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Caremark also seeks to compel production of Relator’s Statement of Material Evidence
to the extent she produced it to states who chose not to intervene.

In Response, Plaintiffs assert that the Statement of Material Evidence is
privileged work product, either opinion work product or at the least ordinary work
product, to which Caremark has not shown itself to be entitled. Plaintiffs’ Joint
Response to Defendants’ Motion to Compel Privileged Material, at 2. At the outset,
Plaintiffs note that Relator has already produced much of the information included in
the 1387 page Statement of Material Evidence. Jd. Which makes sense, of course; to
the extent Plaintiffs seek to rely on information from the Statement of Material
Evidence in this case they certainly would be obligated to produce it. Non-produced
portions of the Statement of Material Evidence have been withheld on the basis of work
product, according to Plaintiffs.

Work product, that is material prepared in anticipation of litigation, is protected
from discovery. The extent of protection accorded to work product depends on
whether or not the work product is opinion work product, which means material
reflecting “the mental impressions, conclusions, opinions, or legal theories of an
attorney or other representative of a party concerning the litigation.” FED. R. CIv. P.
26(b)(3). Opinion work product is almost never discoverable. So-called ordinary work
product, that is material prepared in anticipation of litigation but which does not reflect
the mental impressions, conclusions, opinions or legal theories which constitute opinion
work product, can be discoverable, but “only on a showing that the party seeking

discovery has substantial need of the materials in preparation of the party’s case and

 
 

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that the party is unable without undue hardship to obtain the substantial equivalent of
the materials by other means.” Jd.

Caremark and Plaintiffs each submit cases which support their position on this
question. In other words, according to the cases submitted by Caremark, Statements of
Material Evidence in False Claims Act cases are discoverable, while according to the
cases submitted by Plaintiff Statements of Material Evidence are not in fact
discoverable. None of the cited cases specifically on point is from the Fifth Circuit.

More specifically, Caremark cites several cases that hold that the Statement of
Material Evidence is ordinary work product and therefore discoverable. United States
ex rel. O’Keefe v. McDonnell Douglas Corp., 918 F.Supp. 1338, 1346 (E.D. Mo.
1996); Grand ex rel. United States v. Northrop Corp., 811 F.Supp. 333, 337 (S.D.
Ohio 1992); United States ex rel. Stone v. Rockwell Int'l Corp., 144 F.R.D. 396, *10-
11 (D. Colo. 1992). In all of these cases, district courts applied the test set forth in
Rule 26(b)(3) and found that the Statements were discoverable.

On the other hand, Plaintiffs have provided a pile of cases that make the
opposite holding. United States ex rel. Bagley v. TRW, Inc., 212 F.R.D. 554 (C.D.
Cal. 2003); United States ex rel. Burroughs v. DeNardi Corp., 167 F.R.D. 680 (S.D.
Cal. 1996); United States ex rel. Hunt v. Merck-Medco Managed Care, LLC, 2004
WL 868271 (E.D. Pa. 2004); United States v. Medica-Rents Co., 2002 WL 1483085
(N.D. Tex. 2002). These cases hold that the Statements are work product (in some

cases ordinary work product) but undiscoverable.

 
 

 

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There is no “bright-line” rule that applies in this case’. The Fifth Circuit has
not opined on this issue, and the only Texas case on point, the Medica-Rents case,
offers no specific guidance here, other than an instance of a court refusing to compel
production of ordinary work product in this context. The Special Master is convinced
that the Relator’s Statement of Material Evidence is work product of some kind. If it
is, at least in part, ordinary work product, it could be discoverable. In this case,
without making a recommendation as to type of work product status afforded the
Statement, the Special Master finds that Caremark has not met its burden of
establishing an entitlement to production, even to the extent the Statement is ordinary
work product. Having reviewed the documents submitted for in camera review, the

Special Master recommends that the Court find that Caremark has not shown it has a

 

' However, of all the opinions provided by the parties on this issue, the Special
Master would note the most thoughtful and helpful analysis set forth in Bagley, a 2003
district court opinion from California which, by far, takes the most time to discuss the
legislative basis for the disclosure requirement and the implications of its potential
blanket discoverability (or non-discoverability). The Bagley court notes that in a
situation where a Relator discloses fully and thoroughly, the very act of compiling a
disclosure statement reveals opinion work product:

The statute calls for disclosure of “substantially all” of the “material”
facts and evidence in the relator’s possession. To meet that obligation,
the relator and his or her counsel must engage in a process of selecting
and winnowing from the totality of information known to the relator only
those facts and evidence that are material to the relator’s legal claims.
Therefore, the factual naratives in the disclosure statements reveal “the
mental impressions, conclusions, opinions, or legal theories of” the
relator and his or her counsel. See Fed. R. Civ. P. 26(b)(3). For these
reasons, the court concludes that the disclosure statements prepared by
relator and his counsel in this case (including pre-existing documents
attached as exhibits thereto) constitute opinion work product.

Bagley, 212 F.R.D. at 565.

 
 

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substantial need for the withheld portions of the Statement in the preparation of its case.
Furthermore, the Special Master recommends that the Court find that Caremark has
other means of obtaining the withheld information or a substantial equivalent. That
being the case, at this time, the Special Master will recommend that the Court deny
Caremark’s motion, without prejudice to its being reasserted should subsequent,
alternative discovery not provide an adequate means of obtaining a substantial
equivalent of the withheld material.

Caremark also argues that to the extent Relator provided the Statement to non-
intervening states, there is no privilege which would apply. The Special Master is
unpersuaded by this argument. A Fifth Circuit case cited by Caremark is instructive:
“regardless of whether the government opts to control or intervene in a case, the False
Claims Act requires that actions ‘be brought in the name of the Government.’ . . .
Thus, . . . the United States is a real party in interest even if it does not control the
False Claims Act suit.” Searcy v. Philips Electronics North America Corp., 117 F.3d
154, 156 (Sth Cir. 1997). In other words, non-intervening states here remain real
parties in interest. As such, disclosing the Statement of Martial Evidence to
governments that do not intervene does not disrupt its work product status. See
Burroughs, 167 F.R.D. at 685-86. Finally, the Special Master would note that the
evidence demonstrates that the states to whom the Statement was sent that do not have
False Claims Acts did not review the Statement. Relator’s First Supplemental
Response to Defendants’ Motion to Compel Privileged Material. Service of the

Statement of Material Evidence on North Carolina and Utah did not, therefore, disrupt

 
 

 

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any privilege. Accordingly, the Special Master RECOMMENDS that Caremakr’s
Motion to Compel Further Responses to Interrogatories and Requests for Documents,
and Supporting Memorandum be DENIED to the extent it seeks production of Relator’s

Statement of Material Evidence.

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